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                       UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MAINE



  In re:
                                                 Chapter 13
  Charles Pappas,                                Case No. 18-20179

                             Debtor



                     ORDER SETTING DISCOVERY SCHEDULE

    After consultation with counsel to the Debtor and counsel to Donna Parris in the
 above-captioned matter, the Court orders the following:


    1. The debtor may not amend his plan after July 13, 2018 without prior Court
       approval, after notice and opportunity for hearing;

    2. This contested matter is governed by Fed. R. Bankr. P. 9014, including Rule
       9014(c). Discovery is authorized but must be completed on or before September
       14, 2018. The scope of discovery is determined under Fed. R. Civ. P. 26(b)(1), as
       applied to the chapter 13 plan [Dkt. No. 4], the chapter 13 trustee’s objection to
       the plan [Dkt. No. 12], and Ms. Donna Parris’s objection to the plan [Dkt. No.
       13]; and

    3. After the close of discovery, the parties must promptly contact the Court to
       schedule a final, pre-trial conference for the purpose of formulating a trial plan.
       See Fed. R. Civ. P. 16(e) (made applicable to this contested matter by this order).




 Dated: June 6, 2018                                 ______________________________
                                                     Michael A. Fagone
                                                     United States Bankruptcy Judge
                                                     District of Maine
